                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:07cr108

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
WARREN BRYANT (5)                        )
________________________________________ )

       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine. (Doc. No. 103).

       The defendant was then sentenced to 120 months’ imprisonment pursuant to the

mandatory minimum sentence prescribed in 21 U.S.C. § 841(b)(1)(B), based on his plea to

conspiracy to possess with intent to distribute at least 30 but fewer than 50 grams of cocaine base.

(Doc. No. 8: § 851 Information; Doc. No. 42: Plea Agreement at 1-2; Doc. No. 58: Judgment at 1-

2; Doc. No. 59: Statement of Reasons at 1). Accordingly, the change in the guidelines does not

affect the defendant’s sentence. Neal v. United States, 516 U.S. 284, 296 (1996) (retroactive

amendment to guidelines does not alter statutory mandatory minimum).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.
                                                Signed: October 24, 2008




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